The city assessor of Los Angeles did not file any protest against the taxation of the property in question as operative property of the Pacific Electric Railway Company until more than thirty days after he had received the copy of the company's report which the law requires to be served upon him. The provision of the statute (Stats. 1911, p. 538) that such protest shall be filed within thirty days thereafter is jurisdictional. A protest filed later has no effect, and does not require the state board to revise or alter its action in placing such property on the roll as operative property, or to dispose of the protest in any way. Its failure to make any order disposing of the protest is, therefore, not a breach of duty and mandamus will not lie to compel *Page 156 
the entry of such order. Its act placing such property on the roll as operative property is as valid as if the belated protest had not been filed.
For these reasons the application for a writ of mandate is denied.
Rehearing denied.